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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

NETCHOICE, LLC d/b/a NetChoice,           )
a 501(c)(6) District of Columbia organization,
                                          )
                                          )
                     and                  )
                                          )
COMPUTER & COMMUNICATIONS                 )
INDUSTRY ASSOCIATION d/b/a CCIA, a        )
501(c)(6) non-stock Virginia Corporation, )      Civil Action No. 1:21-cv-00840-RP
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )
                                          )
KEN PAXTON, in his official capacity as   )
Attorney General of Texas,                )
                                          )
       Defendant.                         )
_________________________________________ )

                     PLAINTIFFS’ REPLY IN SUPPORT OF THEIR
                        MOTION FOR PROTECTIVE ORDER
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       Defendant leads off his response with a fundamental misstatement when he claims that

“Plaintiffs believe their members entitled [sic] to complete safeguarding from the proposed dis-

covery this Court permitted.” Dkt. No. 34 at 1 (emphasis added) (“Resp. Br.”). Plaintiffs have

offered discovery into the facts put at issue in their motion for a preliminary injunction—including

extensive discovery from the two members that submitted supporting declarations. And the Court

permitted only “narrowly tailored requests” necessary for Defendant to “discover information it

needs to prepare its opposition to the PI motion.” Dkt. No. 25 at 4 (“Order”). Defendant cannot

meet his burden to show good cause at this point in the litigation to request such wide-ranging

requests for “all documents and communications” related to every facet of Plaintiffs’ members’

operations.

       First, after a week of negotiation, Plaintiffs have agreed to produce the full scope of facts

that Plaintiffs’ motion for a preliminary injunction put at issue in this expedited-discovery posture.

That agreement includes:

       (1) Depositions of all seven witnesses who provided declarations in support of Plaintiffs’
           motion for preliminary injunction, including two of Plaintiffs’ members;

       (2) Production of all nonprivileged documents those witnesses relied upon (cited and un-
           cited) when drafting their declarations;

       (3) Responses to two interrogatories directed at Plaintiffs themselves regarding the con-
           tent-moderation practices of certain Plaintiffs’ members; and

       (4) Any admissions, stipulations, or additional interrogatories that would further narrow
           any potential disputes between the parties.

In addition, during those negotiations YouTube and Facebook—the only two members of Plain-

tiffs that submitted facts in support of the motion for preliminary injunction—offered to agree to

produce additional categories of documents to resolve this discovery dispute. See Exhibit J.

       What Plaintiffs are not willing to do—and what they have no authority to do—is to agree

to expansive requests for production from nonparty member companies that implicate millions of


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documents, every aspect of the companies’ operations, and the very First Amendment rights at

issue in this case. And Defendant says nothing to deny the breadth of his document requests.

       Second, this Court has not yet sanctioned Defendant’s specific proposed requests. As this

Court made clear, Defendant must “significantly tailor its discovery requests.” Order at 4 (empha-

ses added). In response, Defendant deleted just one of the requests that the Court found were “not

sufficiently tailored and would burden Plaintiffs without good cause.” Order at 4. And Defendant

did not change the language of any of the other eight. Requesting “all documents and communi-

cations” are not “targeted” requests for “precise information.”

       The Court also ordered that Defendant’s discovery requests should be for information De-

fendant “needs to prepare its opposition to the PI motion.” Id. For the first time in his opposition

to Plaintiffs’ motion for protective order, Defendant articulated rationales for his document re-

quests, which all rest on an indefensible position: That Defendant must determine, based on mil-

lions of documents, that Plaintiffs engage in the kind of content moderation that House Bill 20

(“H.B. 20”) directly forbids. See Resp. Br. at 3-6. This is in spite of the fact that H.B. 20 itself is

premised on the idea that the covered platforms moderate content based on “viewpoint.” None of

Defendant’s rationales carry his burden to show good cause.

1.     All documents and communications, including recordings, minutes, and documents reflect-
       ing team meetings, related to [COMPANY’s] content moderation policies and practices.

               Defendant has not demonstrated that this request for millions of documents is nec-
               essary to respond to what Defendant considers Plaintiffs’ arguments: “Plaintiffs
               claim the way their members moderate content constitutes speech, they all do it in
               a unique way and they do not hold their platforms open to everyone.” Id. at 4. These
               questions do not require any discovery to answer. First, Plaintiffs assert that they
               engage in protected editorial discretion—a question of law that only requires appli-
               cation of settled law to the uncontroverted fact that covered platforms have content-
               moderation policies. See Dkt. No. 12, at 2-6, 14-23 (“PI Motion”). Second, the fact
               that each platform moderates policy “in a unique way” is verifiable by viewing
               publicly available terms of service and other policies and noting that each platform
               defines, for example, hate speech, in slightly different ways. Finally, those same



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              publicly available policies make clear who is and who is not allowed on the plat-
              form (without implicating any trade secret concerns).

2.     All documents and communications related to [COMPANY’s] current reporting and dis-
       closure obligations under federal and/or state law.

              Defendant has not shown why it is necessary to inquire into other disclosure re-
              quirements, when Plaintiffs assert that H.B. 20 requires members to disclose
              their editorial policies to the satisfaction of the Texas Attorney General—legal in-
              juries chilling their exercise of editorial discretion. See PI Motion at 6-13, 23-36;
              Dkt. No. 28 at 6 (“Response to MTD”); cf. Resp. Br. at 4.

3.     Offline copies of all git repositories, including version and commit history, related to con-
       tent moderation.

              Defendant has not demonstrated why this is necessary, as he contends that he must
              see every version of Plaintiffs’ members underlying code to determine whether the
              platforms moderate content—when the platforms’ publicly available policies
              demonstrate as much. Cf. Resp. Br. at 4.

4-7.

       Training data sets for all machine learning models employed for purposes of content mod-
       eration to the extent they are not contained in documents produced in response to No. 3.

       All wiki, README, or similar documentation related to software utilized for content mod-
       eration from 2019-present.

       Any issues, user stories, epics, tasks, themes or initiatives* created in relation to content
       moderation of your platform. [*To the extent the respondent requires keywords to comply
       with this request, respondent should confer with Defendant on those keywords].

       Current workflow diagrams to the extent they are not contained in documents produced in
       response to No. 3.

              Defendant has not explained why this information is necessary, instead contending
              (in essence) that he must have access to this information to know whether platforms
              are moderating content, or “doing something else entirely.” Cf. id. at 3-4. As an
              initial matter, Defendant does not explain what that “something else” includes.
              Moreover, just as Defendant does not need Plaintiffs’ members’ code, he does not
              need to see the precise technical way that the code has been developed. Defendant’s
              argument relies on the idea that this Court can tell the platforms that the platforms
              are exercising their editorial discretion incorrectly.

8.     All documents and communications containing studies, inquiries and/or statements as to
       advertiser retention being affected by user content allowed on [COMPANY’s] platform.

              Again, Defendant has not explained why this information is necessary to respond


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                to the motion to dismiss. Cf. id. at 6. And he has not justified his request for “all
                documents and communications.”

        Defendant’s requests are improper under even the normal rules of discovery, let alone in

the expedited nature of this limited discovery period related to the preliminary injunction. Instead,

to get Defendant the information he “needs to prepare [the] opposition to the PI motion,” Order at

4, Plaintiffs offered (and Defendant seemed to agree to) the plan proposed above that would allow

discovery into the facts put at issue in Plaintiffs’ motion for preliminary injunction.

        Defendant offers no argument why Plaintiffs’ proposed discovery plan is insufficient, in-

stead demanding millions of documents from all covered members—the need for which is com-

pletely belied by Defendant’s own negotiations last week. Defendant has demonstrated that, even

under his expansive (and erroneous) view of what discovery is necessary at this stage of the case,

Defendant’s current requests are overbroad and unnecessary. By the end of the process, Defendant

was willing to seek depositions and documents from only two of Plaintiffs’ members: Facebook

and YouTube. And Defendant was willing to forgo 4 of 9 proposed requests for production. In

other words, although Defendant now contends that he requires many millions of documents from

all of Plaintiffs’ covered members to defend against Plaintiffs’ preliminary-injunction motion, he

was willing to do without much of that as of last Thursday.

        Furthermore, Defendant has made no attempt to limit his discovery requests to the needs

of this case. As this Court has explained in another case, “because this is a facial challenge to the

[state statute], it is unlikely that the proceedings will be fact intensive or that [Plaintiffs’] individual

members will be required to participate in this lawsuit.” Nat’l Press Photographers Ass’n v.

McCraw, 504 F. Supp. 3d 568, 580 (W.D. Tex. 2020); see PI Motion at 7-9; Resp. to MTD at 12-

18 (explaining why this case does not require member participation). And Defendant has done

nothing to respond to the First Amendment concerns, except to assert that Plaintiffs cannot raise



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such concerns. See Dkt No. 20 at 9-10.

       But this dispute over the scope of expedited discovery is governed by this Court’s Order

granting limited expedited discovery. Specifically, the Court ordered “the parties” “to reach agree-

ments about the breadth and timing of any such discovery”—and further ordered that “to the extent

the parties reach an impasse, the parties shall be aware the Court will rule swiftly” on the dispute

between the parties. Order at 4 (emphases added). In other words, this Court did not approve gen-

eral discovery in this case—especially after Defendant unilaterally ended negotiation to serve mul-

tiple third-party subpoenas. Cf. Fed. R. Civ. P. 26(d)(1) (parties generally must wait until after a

Rule 26(f) conference to conduct discovery). Instead, the Court ordered limited discovery meeting

with the terms of the Court’s Order—i.e., “narrowly tailored” and “targeted requests” for “precise

information.” Id. Because Defendant has not provided such requests, he is not entitled to discovery

under the terms of this Court’s order.

       Under this Court’s Order, Plaintiffs have standing to seek a protective order (or to other-

wise challenge Defendant’s subpoenas in this expedited-discovery posture). None of the cases

Defendant cites include First Amendment challenges brought by organizations on behalf of their

members—where the organizations represent their members’ interests in the litigation, as recog-

nized in myriad cases upholding associational standing. Response to MTD at 12-15. Moreover,

Plaintiffs have asserted that their “own interest[s] [are] jeopardized by discovery sought from a

third person,” given the expedited nature of the discovery here and Plaintiffs’ request for relief

before H.B. 20 takes effect. 8A Charles Alan Wright & Arthur P. Miller, Fed. Prac. & Proc. Civ.

§ 2035 (3d ed.).

                                         CONCLUSION
       Plaintiffs respectfully request that this Court grant Plaintiffs’ motion and enter the accom-

panying protective order.


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Dated: November 1, 2021                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on November 1, 2021, the foregoing was filed electronically via the Court’s

CM/ECF system, causing electronic service upon all counsel of record.

                                                    /s/ Todd Disher
                                                    Todd Disher
